




Dismissed and Memorandum Opinion filed December 21, 2006








Dismissed
and Memorandum Opinion filed December 21, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00927-CV

____________

&nbsp;

IN THE MATTER OF C.S.

&nbsp;



&nbsp;

On Appeal from County Court at Law
No. 2

Galveston County,
Texas

Trial Court Cause No.
04JV0034

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an attempted appeal from a judgment signed February
27, 2006.&nbsp; Appellant filed an untimely motion for new trial on April 3, 2006.&nbsp;
Appellant=s notice of appeal was filed June 7, 2006.

The notice of appeal must be filed within thirty days after
the judgment is signed when appellant has not filed a timely motion for new
trial, motion to modify the judgment, motion to reinstate, or request for
findings of fact and conclusion of law.&nbsp; See Tex. R. App. P. 26.1








Appellant=s notice of appeal was not filed timely. A
motion for extension of time is necessarily implied when an appellant, acting
in good faith, files a notice of appeal beyond the time allowed by rule 26.1,
but within the fifteen-day grace period provided by Rule 26.3 for filing a
motion for extension of time.&nbsp; See Verburgt v. Dorner, 959 S.W.2d 615,
617-18 9 (1997) (construing the predecessor to Rule 26).&nbsp; Appellant=s notice of appeal
was not filed within the fifteen-day period provided by Rule 26.3

On November 9, 2006, notification was transmitted to all
parties of the court=s intent to dismiss the appeal for want of
jurisdiction.&nbsp; See Tex. R. App.
P. 42.3(a).&nbsp; Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed December 21, 2006.

Panel consists of Justices Frost,
Seymore, and Guzman.





